Case 2:10-md-02179-CJB-DPC Document 12182-11

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CLA & PROPERTY DARAGE cLar 5

. Last/Name of Business Middle
Claimant Name THONN
Claimant ID 100051739 19690
Claim Type Seafood Compensation Program
Law Firm Andry Law Group/Andry Lerner, LLC
Catch Type Shrimp Operator Type Vessel Owner
Vessel Name Boss Hoss Hull ID LAZ62111E101

This Notice is an official communication from the Claims “Administrator for the Deepwater F Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to the claim identified in Section I. We
have reviewed this claim and find that it qualifies for payment under the terms of the Economic and Property
Damages Settlement Agreement (“Settlement Agreement”). The following provides a breakdown of the factors
relevant to your payment. See Explanation of Claim Attachment for details on each item, unless another
Attachment is noted.

1. | Compensation Amount: $93.49

. | Additional Risk Transfer Premium Amount: . $771.29

Attachment for additional details. $0.00

2
3 Plus Claimant Accounting Support: See Claimant Accounting Support Reimbursement
4

. | Subtotal for this Claim: Sum of Rows 1 through 3. $864.78

Less Prior Seafood Spill-Related Payments and other Seafood Compensation

Program Payments: All of your eligible Seafood Compensation Program claims must exceed this
5. amount in order to receive payment. If you have multiple Seafood Compensation Program claims $72,500.00

eligible for compensation, these offsets will appear on each Eligibility Notice. However, we will apply ’
these offsets for prior Seafood Spill-Related Payments only once against your Total Seafood
Compensation Program Award,

6 Total Compensation Amount: The Subtotal for this claim minus the Total Prior Payments. This is
"| the total amount you can receive for this claim.

($71,635.22)

7. |40% of Prior Transition Offer, if Applicable: N/A
8 Award Amount: Higher of 40% Amount or Total Cornpensation Amount, subject to any applicable
"| liens.

($71,635.22)

Seafood Compensation Program Offers to Date: This is the value of all eligible Seafood
9. Compensation Program offers that are not under Reconsideration or Appeal at the time of this Notice. $864.78
This value includes the Award amount of this claim.

Total Seafood Compensation Program Award Amount to Date: Seafood Compensation
Program Offers to date minus Prior Seafood Spill Related Payments and any 40% Amount awarded in
10 your first Notice. This is the total value, after offsets for Seafood Spill-Related Payments, of all Seafood ($71,635.22)

* | Compensation Program awards that are not under Reconsideration or Appeal at the time of this ‘ ,
Notice. This Amount will change if you request reconsideration of a prior Seafood Compensation
Program offer or if BP appeals any of your prior Seafood Compensation Program Offers.

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We have determined that you are eligible for a Settkement Payment, but that you either suffered no loss or that
prior Spill-Related payments from BP or the GCCF exceed your Compensation Amount. As a result, your Award
Amount is zero and you will not receive a payment from the Settlement Program.

D p ND Ih PE Al

If you accept your Award. Amount and the claimant on whose behalf this claim was asserted is deceased, a minor
or incompetent, depending upon the law of the state where the claimant lived or lives now, you may be required to
get court approval of this accepted settlement and submit a copy of an official court document proving that the
person signing the Release has the authority to settle this claim on the claimant’s behalf if you do not already have
such a document, even if we accepted whatever proof you have provided before now as sufficient to allow the
claim to move through the claim review process. We will notify you if you need to seek court approval or submit
additional proof of authority before payment.

You may seek Reconsideration of this claim if you believe that we have made a calculation error or incorrectly
deducted prior Spill-related payments, if you believe that we failed to take into account relevant information or
data, or did not follow the Settlement Agreement's standards governing this claim. To request Reconsideration, you
must do the following on or before the Deadline for Reconsideration Request date listed at the top of this Eligibility
Notice: (1) complete the Request for Reconsideration Form accompanying this Notice or complete the online
version available on the DWH Portal; and (2) submit all documentation you want us to consider at the same time
you submit your Request for Reconsideration Form. Because submission of a Request for Reconsideration is the
equivalent of asking for an additional review of the claim, the Reconsideration outcome could change the eligibility
of the claim, or your Award Amount may increase, decrease or stay the same.

If you are dissatisfied with the outcome of your Reconsideration review, you will have the right to file an appeal; .
however, you must submit a timely Request for Reconsideration if you later wish to appeal. If you do not submit
a Request for Reconsideration or submit one after the deadline for doing so has passed, you will not
be able to file an appeal.

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We will deduct any valid outstanding liens we have received, along with any other deductions required by state or
federal law or by any court order from Your Award Amount identified in Section II of this Notice before issuing
payment. If we have received a valid lien against your claim(s), the Notice of Lien Withholding Attachment
included with this Notice provides details on that lien and how it affects your Award Amount. If we receive a valid
lien or notice of another required deduction after you accept your Award Amount but before we issue the payment
on your claim, we will deduct the lien amount from your payment. .

For individual claims over $10,000, total accounting fees may not exceed 2% of the Compensation Amount
(excluding any applicable Risk Transfer Premium). Accounting fees for all other claims less than or equal to $10,000
are limited to $200. All individual claims, regardless of the Compensation Amount, shall be subject to an overail
accounting support reimbursement limit of $6,000.

0 CTU QUES

If you have any questions about this Notice or the status of your claim(s) or need help, contact the Claimant
Communications Center at 1-800-353-1262 or send an email to Questions@dhecc.com. You also may visit a
Claimant Assistance Center and talk with one of our representatives. For a complete list of Claimant Assistance
Centers, go to www.deepwaterhorizoneconomicsettlement.com.

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Submit your origina/hard copy, signed Release bearing the claimant’s signature by Mail, Overnight Certified or
Registered Mail, or by visiting a Claimant Assistance Center. If you have already submitted a Release and you wish
to accept this Award Amount go to www.deepwaterhorizoneconomicsettlement.com and choose the Accept
Award Amount option. If you are unable to access the DWH Portal you must call the Claimant Communications
Center at 1-800-353-1262 to accept payment on this claim. Submit your Request for Reconsideration Form
online with any accompanying documents by uploading them to your DWH Portal in any of the following ways. If
you are unable to access the DWH Portal, you may submit your request in any of the following ways, but be sure to
write your Claimant ID on the top page of all documents you submit.

By Mail Deepwater Horizon Economic Claims Center ,
{Postmarked no later than your Reconsideration PO Box 1439

deadline) Hammond, LA 70404-1439

By Overnight, Certified or Registered — | Deepwater Horizon Economic Claims Center
Mail (If mail, postmarked no later than your Claims Administrator

Reconsideration deadline; if other overnight delivery, | 454g Happy Woods Road
placed in the custody of an overnight carrier by your d 0
Reconsideration Deadline) Hammond, LA 70403

By Facsimile

(Sent no later than 12:00 midnight local time on (888) 524-1583
your Reconsideration deadline)

By Email
(Sent no later than 12:00 midnight local time on ClaimForms@deepwaterhorizoneconomicsettlement.com
your Reconsideration deadline)

Visit a Claimant Assistance Center You may take the required information or documents to a Claimant
(Delivered no later than your Reconsideration Assistance Center

deadline)

We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart summarizes the status of those claims as of the date of this Notice. You will receive or have already received
separate Notices for each additional claim. You may monitor the status of your other claims by using the DWH
Portal. If you do not use the DWH Portal, contact us by one of the methods listed in the How to Contact us with
Questions or for Help Section of this Notice to find out the current status of your other claims or use the “Check My
Status” feature located on the homepage of the official Settlement Program website at
www.deepwaterhorizoneconomicsettlement.com.

Claim Type Claim ID Claim Status
1. | Seafood Compensation Program 19691 In QA Review
VoO Charter Payment 20741 Payment Received
3. | Subsistence 97550 Claim Form Submitted
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. CLAIMANT AND CATCH INFORMATION ©

Catch Type Shrimp Operator Type Vessel Owner
Vessel] Name Boss Hoss HullID |. LA762111E101
Vessel Size 30.00 ft Vessel Type N/A

Home Port County St. Tammany Home Port State LA

We reviewed all the documents and information you submitted to determine the Compensation Plan Method that
maximizes your recovery, even if that plan differed from your selection on the Claim Form. Sections C, D and E
explain the calculations from the Expedited and Reduced Expedited Compensation Methods, New Entrant
Compensation Method and the Historical Revenue Compensation Method. Your compensation is based on the
Historical Revenue Compensation Method.

Explanation of Calculation: This calculation is based on your vessel size, vessel type and operator type. “Your
Minimum Qualifying Revenue derived from Shrimping for the selected Benchmark Period is $40,000.00. If your
Shrimping Revenue for the Benchmark Period meets/exceeds your Minimum Qualifying Revenue, your
Expedited/Reduced Expedited Seafood Compensation Plan Claim Award is $135,281.00, which includes a Risk
Transfer Premium (RTP) of 8.25.

Shrimp Vessels with an Ineligible Home Port: If your documentation indicates that the home port for the
vessel identified above is not within an eligible area, you are not eligible to receive compensation under the
Expedited or Reduced Expedited Compensation Methods. Vessels are only eligible to receive compensation under
the Expedited or Reduced Expedited Compensation Methods if the governmental issued vessel registration from
2009 or 2010 indicates the home port was in Louisiana, Mississippi, Alabama, and the following Florida counties:
Escambia; Santa Rosa; Okaloosa; Walton; Homes; Washington, Bay; Jackson; Calhoun; Gulf; Liberty; Franklin;
Gadsden; Leon; and Wakulla.

2007 Annual Revenue * 2008 Annual Revenue 2009 Annual Revenue
$0.00 : $677.70 $452.90
Source of Revenue Information: The information from financial documents, aside from Trip LDWE Trip Ticket

1. | Tickets, will be included in a compensation calculation only if supported by a federal or state tax return for

the corresponding year as the financial information. Database

Benchmark Period: Your Benchmark Period may differ from the period you selected on the Claim
2. | Form because we selected the Benchmark Period that maximizes your recovery based on the 2008-2009
documentation provided.

Benchmark Revenue: Your Benchmark Revenue is the highest average of the annual revenue for

3. | the claimed vessel or vessels from the Benchmark Period identified above. Your annual revenue is $565.30
calculated from the Source of Revenue Information identified above.

4, | Expedited Calculation: Not Eligible

5. | Reduced Expedited Calculation: Not Eligible

6. Expedited or Reduced Expedited Compensation: This is the higher of Row 4 or Row 5. Not Eligible

An RTP of 8.25 is included.

EXPLANATION OF CALCULATION: This calculation is based on your vessel size, vessel type, 2, operator type and expenses incurred
for purchase/repair of the vessel or equipment for the vessel in the twelve months prior to April 20, 2010. Based on the size of your vessel
30.00 ft, your qualifying expense amount is .

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EXPENSES
Type of Expense Amount of Expense
1. Other $26,910.00
2. | Total Proven Expenses for Shrimp Harvesting Vessel: $26,910.00
New Entrant Compensation This includes an RTP of 8.25. Not t Eligible

fENUE. ‘METHOD -

‘Explanation of Calculation: This calculation is based on your proven Shrimp harvesting re revenue from the
Benchmark Period in conjunction with your vessel size and vessel type.

2007 Annual Revenue 2008 Annual Revenue 2009 Annual Revenue
$0.00 $677.70 $452.90
Source of Revenue Information: The information from financial documents, aside from Trip LDWF Trip Ticket
1, | Tickets, will be included in a compensation calculation only if supported by a federal or state tax return for Datab
the corresponding year as the financial information. atabase
Benchmark Period: This Benchmark Period may differ from the Period selected on the Claim Form,
2. | because we selected the Benchmark Period that maximizes your recovery based on the documentation 2008-2009

provided.

Benchmark Revenue: The Benchmark Revenue is the highest average of the annual revenue for
3. | shrimp harvested for the claimed vessel or vessels from the Benchmark Period identified above. The annual $565.30
revenue is calculated from the Source of Revenue Information identified above.

4 Additional Catch Adjusted Benchmark Revenue: Row 3 multiplied by the Additional Catch $678.36
"| Factor of 1.20. ‘

5 Total Adjusted Benchmark Shrimp Revenue: Row 4 multiplied by 1.2, whtch is the $814.03
"| Adjustment for Changes in 2010-11 Prices. “
6. | Benchmark Cost: Row 3 multiplied by the Shrimp Cost Percentage of 39%. $220.47
7. | Base Loss: Row 5 minus Row 6, multiplied by the Shrimp Loss Percentage Factor of 35%. $207.75
8. | Base Compensation: Row 7 multiplied by the Shrimp Vessel Owner/Vessel Lessee Share of 45%, $93.49
9. | Risk Transfer Premium: Row 8 multiplied by an RTP of 8.25. $771.29

10. | Final Compensation: Row 8 plus Row 9. $864.78

The Seafood Compensation Program contains $2.3 billion to distribute to eligible claimants, less all Seafood-Related
Payments issued to claimants during the GCCF Transition Period. In the event there are remaining funds in the

_| Seafood Compensation Program after paying all eligible claimants, then we will distribute the remaining funds to all
claimants who received compensation from the Seafood Compensation Program. The Claims Administrator has
discretion on how any remaining funds will be distributed. The remaining balance may be distributed to you in
proportion to your gross compensation expressed as a share of the gross compensation paid by us to all claimants
under the Seafood Compensation Program. Gross compensation reflects the amount paid by us to you prior to
deductions for any Seafood Spill-Related Payments. Because you received an Eligibility Notice, you are entitled to a
share of this additional distribution of any remaining balance, even if you received a lump sum or fixed payment as
a Category II or III crew member.

1 Seafood Compensation Plan Claim Award: This is the highest calculation from all $864.78
"| Compensation Plan Methods that you are eligible for under the Shrimp Compensation Plan. ,
2 Accounting Support Reimbursement: See Claimant Accounting Support Reimbursement $0.00
"| Attachment for additional details, if applicable. '
3. | Subtotal for this Claim: Sum of Rows 1 and 2. $864.78
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Less Prior Seafood Spill-Related Payments and other Seafood

Compensation Program Payments: If you have multiple Seafood Compensation Program
4. | claims eligible for compensation, these offsets will appear on each of Eligibility Notice. However, we $72,500.00
will apply these offsets for prior Seafood Spill-Related Payments only once against your Total Seafood

Compensation Program Award.
Prior BP Payments of $11,000.00
Prior GCCF Emergency Payments of $61,500.00
Prior GCCF Interim Payments of $0.00
Prior GCCF 60% Transition Payments of $0.00
Prior DWH Seafood Program Payments of $0.00

5. Total Claim Amount: Row 3 minus Row 4. This is the total value of this Seafood Compensation ($71,635.22)
Program Claim.

lary of All Eligible Seafood Compen

Total Seafood Compensation Plan Claimant Award: This is the value of all Eligibility
6 Notices from the Seafood Compensation Program not under Reconsideration or Appeal at the time of $864.78
"| this Notice, This amount will change if you request reconsideration of a prior Seafood Compensation ,
Program offer or if BP appeals any of your prior Seafood Compensation Program Offers.

Total Seafood Compensation Program Award Amount to Date: Row 6 minus
Row 4 minus any prior 40% Offer. This is the total value of all Seafood Compensation Program offers
7. | not under Reconsideration or Appeal as of the date of this Notice. This amount may be reduced by ($71,635.22)
payments made to you for other Seafood Compensation Program offers that are not included in Row 4
above due to the timing of this Notice.

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Last/ Name of Business
Name THONN
| Claimant ID 100051739 Claim ID 19690
Claim Type Seafood Compensation Program
Law Firm Andry Law Group/Andry Lerner, LLC
Catch Type Shrimp Operator Type Vessel Owner
Vessel Name Boss Hoss Hull ID LAZ621 115101
i. REQ OF CLAIM _

By requesting Reconsideration, you are certifying that you understand that the Reconsideration outcome could
change the eligibility of your claim and that your Settlement Payment could increase, decrease or stay the same.
Submit all documentation you want us to consider along with this Reconsideration Form. Select the reason(s) you

are requesting Reconsideration from the options below.

O Calculation Error

4H Failure to take into account relevant information or data
| Failure to follow the standards in the Settlement Agreement

O Incorrect deductions from prior BP/GCCF payments

Explain (You may attach additional sheets if necessary):

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Submit your Request for Reconsideration Form online with any accompanying documentation by uploading

them to your DWH Portal. If you do not use the DWH Portal, you may submit your request in any of the following
ways on or before your Reconsideration deadline:

By Mail
.| (Postmarked no later than your Reconsideration
deadline)

Deepwater Horizon Economic Claims Center
PO Box 1439
Hammond, LA 70404-1439

By Overnight, Certified or

Registered Mail

(If mail, postmarked no later than your
Reconsideration deadline; if other overnight delivery,
placed in the custody of an overnight carrier by your
Reconsideration Deadline}

Deepwater Horizon Economic Claims Center
Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on
your Reconsideration deadline)

(888) 524-1583

By Email
(Sent no later than 12:00 midnight local time on
your Reconsideration deadline)

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center
(Delivered no later than your Reconsideration
deadline}

You may take the required information or documents to a Claimant
Assistance Center.

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